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    9                     UNITED STATES DISTRICT COURT
   10                    CENTRAL DISTRICT OF CALIFORNIA
   11                             WESTERN DIVISION
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          IN RE: NATIONAL FOOTBALL            Case No. 2:15-ml-02668-BRO (JEMx)
   13     LEAGUE’S “SUNDAY TICKET”
          ANTITRUST LITIGATION                Hon. Beverly Reid O’Connell
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   15
                                              FINAL JUDGMENT
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          THIS DOCUMENT RELATES TO:
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          ALL ACTIONS
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              WHEREAS, these consolidated actions came on for hearing before the Court
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        on February 13, 2017, on a Motion to Dismiss by the National Football League
    3
        (“NFL”) Defendants1, the Hon. Beverly Reid O’Connell, United States District
    4
        Judge, presiding;
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              WHEREAS, the Court has entered an order (see Dkt. No. 252), granting the
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        NFL Defendants’ Motion to Dismiss Plaintiffs’ Consolidated Amended
    7
        Complaint2;
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              NOW, THEREFORE, the Court hereby enters judgment in favor of the NFL
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        Defendants and Defendants DIRECTV, LLC and DIRECTV Holdings LLC on
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        each of the claims set forth in the Consolidated Amended Complaint;
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         The NFL Defendants consist of: Arizona Cardinals, Inc.; Atlanta Falcons
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        Football Club LLC; Baltimore Ravens Limited Partnership; Buccaneers Limited
   18   Partnership; Buffalo Bills, Inc.; Chicago Bears Football Club Inc.; Cincinnati
        Bengals, Inc.; Cleveland Browns LLC; Dallas Cowboys Football Club, Ltd.;
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        Denver Broncos Football Club; Detroit Lions, Inc.; Football Northwest LLC; Green
   20   Bay Packers, Inc.; Houston NFL Holdings LP; Indianapolis Colts Inc.; Jacksonville
        Jaguars Ltd.; Kansas City Chiefs Football Club, Inc.; Miami Dolphins, Ltd.;
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        Minnesota Vikings Football Club LLC; NFL Enterprises LLC; National Football
   22   League, Inc.; New England Patriots, LP; New Orleans Louisiana Saints LLC; New
        York Football Giants, Inc.; New York Jets Football Club, Inc.; Oakland Raiders
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        LP; PDB Sports Ltd.; Panthers Football LLC; Philadelphia Eagles Football Club,
   24   Inc.; Pittsburgh Steelers Sports, Inc.; San Diego Chargers Football Co.; San
        Francisco Forty Niners Ltd.; Tennessee Football, Inc.; The Rams Football
   25
        Company LLC; and, Washington Football Inc.
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   27    Because the Court disposed of all claims against all Defendants, it denied
        DIRECTV, LLC and DIRECTV Holdings LLC's Motion to Compel Arbitration as
   28   moot.
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              It is hereby ADJUDGED that Plaintiffs’ claims are dismissed with prejudice
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        in their entirety, and that Plaintiffs shall take nothing by way of their Consolidated
    3
        Amended Complaint.
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            IT IS SO ORDERED.
    5   DATED: July 13, 2017
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    7                                        By:
                                                   Honorable Beverly R. O’Connell
    8                                              United States District Court Judge
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